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                                              February 10, 2022

 VIA ECF

 Hon James M. Wicks, USMJ
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11717

 RE:    Martinez et al v. Feliks & Son Storage Tank Corp. et al, 2:21-cv-03613-GRB-JMW

 Dear Judge Wicks:

         I write to request an extension of the current deadline to file a motion for Default in the
 above referenced matter until March 31, 2022. The current deadline to file the default motion is
 February 15, 2022. However, I will be taking a three to four week leave of absence beginning on
 February 11, 2022. This is the first request for an extension. Should the court require additional
 details I respectfully request leave to file a separate affidavit under seal.

                                              Respectfully Submittted,

                                              /s
                                              Steven J. Moser




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